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                               EXHIBIT 2
Case 2:17-cv-00416-JRG Document 93-2 Filed 06/14/18 Page 2 of 2 PageID #: 1051




     John M . Halan

     From:                                      lucas Fuksa <lucas@fklawfirm.com>
     Sent                                       Monday. May 21. 2018 6:03 PM
     To:                                        Mark A. Jotanovk
     Cc:                                        Thomas A. Lewry; John M. Halan
     Subject:                                   RE: Inland v. Hoya • MEl Subpoena


     Mark, MEl's subpoena response is complete and I do not w ish to confer any further on the subject as I have nothing else
     to add. Regards,

     O IFUKSA


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           LUCAS ,UU4

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         70 We:st Erie StrMt, S.Cond Roar
         Chicago, IRinols 606$<4
           fldawfirm.com

     STATEMENT OF CONFIDI:NTIAUTY: The information In this mos.sage is privileged and confidential Jnd It intended ontv for the use of tho l ndl ~kJua ls
     or enttdes named above. If the readerol thismessage b not the lnlcnded reclpient you are hereby nouned that you are prohibited from
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     notify the sender lmmedlltely Jnd destny all copies of the Or'ISinal message.


    From: Mark A. Jotanovic <mjotarovic@brookskushman.com>
    Sent: Monday, May 21, 2018 3:21PM
    To: lucas Fuksa <lucas@fklawfirm.com>
    Cc: Thomas A. lewry <tlcwry@brookskushman.com>; John M . Halan <jhalan@brookskushman.com>
    Subject: RE: Inland v. Hoya · MEl Subpoena
    Importance: High

    lucas-

    Let me know your availability to meet and confer on the document requests related to the MEl subpoena. We are free
    all day tomorrow to discuss.



    Mark A. Jotanovlc
    Shareholder

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